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10

11
     MICHAEL J. BROSNAHAN,                     No. 3:16-cv-08277- DLR
12

13                     Plaintiff,
                                               DEFENDANTS’ MOTION TO
14        v.                                   DISMISS SECOND AMENDED
                                               COMPLAINT
15
     CALIBER HOME LOANS, INC., LSF9            (Honorable Douglas L. Rayes)
16
     MASTER PARTICIPATION TRUST, and
17   SUMMIT SERVICE AND REALTY LLC

18                     Defendants.
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 1           Plaintiff Michael J. Brosnahan’s Second Amended Complaint (“SAC”) continues
 2   to violate the Rules of Civil Procedure and, again, should be dismissed outright. [Doc. 24
 3   (SAC)] Defendants Caliber Home Loans, Inc., LSF9 Master Participation Trust, and
 4   Summit Service and Realty LLC (collectively “Caliber”) 1 move to dismiss the SAC for
 5   failure to meet the pleading requirements of Federal Rule of Civil Procedure 8(a)(2)
 6   (“Rule 8(a)(2)”) and failure to state a claim under Federal Rule of Civil Procedure
 7   12(b)(6) (“Rule 12(b)(6)”).
 8                                 MEMORANDUM IN SUPPORT
 9           Plaintiff filed this action to halt the pending non-judicial foreclosure and trustee’s
10   sale of Plaintiff’s residential property securing his 2006 home loan. Plaintiff makes no
11   attempt to deny or explain his default of his loan obligations. 2 In fact, Plaintiff stopped
12   making payments on the loan nearly nine years ago on January 1, 2009, and has made no
13   payments since. [See Doc. 13 (First Amended Complaint (“FAC”)) at 17] Nevertheless,
14   Plaintiff now seeks to enjoin the trustee’s sale of the property and also collect damages
15   under a nebulous theory that the issuer and later noteholder of the loan and deed of trust
16   somehow violated a variety of state and federal laws in originating, servicing, and
17   foreclosing on the loan. [Doc. 24 (SAC) at 29] The SAC makes these claims without
18   articulating a single fact indicating any type of wrongdoing occurring on his particular
19   home loan.
20           Plaintiff even has the audacity to argue that because the loan was in default at the
21   time Defendant acquired the loan, he should not be obligated to perform under the loan
22   documents and he should be permitted to keep the collateral for the loan. [Id. at ¶ 33]
23   Plaintiff’s convoluted, 30-page-long SAC—while still unclear about the theories under
24   which Plaintiff would be entitled to any relief—seeks damages and unspecified injunctive
25   and declaratory relief. [Id. at 29] Without any apparent legal justification, Plaintiff has
26
     1
       The SAC makes no efforts to separate the Defendant entities or their conduct.
27   2
       See generally Doc. 13, (First Amended Complaint (“FAC”)) (containing no allegations
28   that the debt has been satisfied); Doc. 24 (SAC) (same).

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 1   been successfully delaying foreclosure and complicating the noteholders’ rights to enforce
 2   the loan documents for years by filing multiple lawsuits regarding this same property, for
 3   which he long ago stopped making loan payments. Plaintiff’s first lawsuit was dismissed
 4   with prejudice by a federal judge as being without merit. [See, e.g., Doc. 23 (9/19/2017
 5   Order) at 4] This action should similarly be dismissed with prejudice.
 6                               Brief Statement of Relevant Facts 3
 7   I.       LOAN HISTORY
 8            In 2006, Plaintiff borrowed $373,500.00 from Countrywide Home Loans, Inc.,
 9   which was secured by a Deed of Trust (“DOT”) against the property at 21 Hummingbird
10   Circle, Sedona, AZ 86336 (“the Property”). [See Doc. 23 (9/19/2017 Order) at 2] In the
11   DOT, which served as the loan’s Security Instrument, the following parties are defined:
12   Countrywide as the Lender, the Mortgage Electronic Registration System, Inc. (“MERS”)
13   as the beneficiary, and Plaintiff as the Borrower. [Doc. 14-2 (Request for Judicial Notice),
14   Ex. 1, DOT] On May 25, 2006, Plaintiff, as the “Borrower,” executed a Promissory Note
15   (the “Note”) and the DOT and Security Instrument. [Id. (Request for Judicial Notice),
16   Exs. 1 (DOT) & 2 (Note)] Plaintiff stopped making payments on the Loan on January 1,
17   2009. [See Doc. 24 (SAC), Ex. 1]
18            As contemplated by paragraph 20 of the DOT, the Note was sold one or more times
19   over the course of the loan, and the Loan Servicer changed as well. As of July 2016, the
20   DOT and loan documents were assigned to LSF9 Master Participation Trust as
21   beneficiary. [Doc. 14-2 (Request for Judicial Notice), Ex. 7]
22
              As also contemplated by the DOT (at ¶ 24), the Trustee was substituted from time
23
     to time and successor trustees were appointed. The original Trustee was Fidelity National
24
     Title Insurance Co. [Doc. 14-2 (Request for Judicial Notice), Ex. 1 (DOT at 1)] After a
25
     3
26      The facts set forth in this Brief Statement are undisputed, accepted as true for the
     purposes of this Motion, and are based on the Second Amended Complaint allegations or
27   other documents, of which the Court may take judicial notice. A more complete history
     of this loan and litigation surrounding the property was included in Caliber’s first motion
28   to dismiss (Doc. 14) and is incorporated by reference herein.

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 1   series of assignments that have been recorded, as of August 24, 2016, the present
 2   beneficiary is LSF9 Master Participation Trust, by Caliber Home Loans, Inc., solely in its
 3   capacity as servicer. LSF9 substituted the trustee and appointed Summit Services and
 4   Realty, LLC, as Trustee under the DOT. [Doc. 14-2 (Request for Judicial Notice), Ex. 10]
 5   II.    LITIGATION HISTORY
 6          Plaintiff stopped making payments on the Loan on January 1, 2009. [See Doc. 24
 7   (SAC), Ex. 1] A former trustee (Trustee Recontrust Company) filed the first Notice of
 8   Trustee’s Sale on the Property in 2009. [Doc. 14-2 (Request for Judicial Notice), Ex. 11]
 9   Plaintiff fought this this non-judicial foreclosure in court by filing an action in Superior
10   Court in Coconino County, which the defendants removed to federal court. [Id. (Request
11   for Judicial Notice), Exs. 15 and 16] This case was resolved when Judge Martone granted
12   the note holder’s motion to dismiss. The court concluded that “[t]o survive a motion to
13   dismiss, ‘a complaint must contain sufficient factual matter, accepted as true, to ‘state a
14   claim to relief that is plausible on its face’’” and “Plaintiff’s complaint does not satisfy
15   this test.” [Id. (Request for Judicial Notice), Ex. 18 at 1-2 (quoting Ashcroft v. Iqbal, 129
16   S. Ct. 1937, 1949 (2009))] The Complaint was ultimately dismissed with prejudice.
17          In 2016, LSF9 Master Participation Trust acquired an interest in the Loan and sent
18   Plaintiff a Notice of Ownership. Then, on August 24, 2016, Caliber recorded a Notice of
19   Trustee’s Sale in the Coconino County Recorder’s Office, which was scheduled for
20   November 23, 2016 and subsequently cancelled. [Id. (Request for Judicial Notice), Exs.
21   12-14] Caliber recorded another Notice of Trustee’s Sale, scheduled for February 27,
22   2017. [Id.]
23          Plaintiff apparently now claims that the Loan was unilaterally “rescinded” by him
24   in 2009, but Plaintiff still possesses the collateral for the Loan. [See Doc. 24 (SAC) ¶¶
25   127-139]
26          On November 22, 2016, Plaintiff commenced this action. The Complaint alleged a
27   single claim under the Fair Debt Collection Practices Act related to the initiation of a non-
28   judicial foreclosure of the Property. [Doc. 1] Plaintiff also filed an ex parte Application

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 1   for an Emergency Temporary Restraining Order (“TRO”) to Stay the Sale of Real
 2   Property. [Doc. 1 at 1; Doc. 7 (11/23/2016 Order) at 1] The Court denied Plaintiff’s TRO
 3   Application and ordered Plaintiff to serve the Defendants with the Complaint. [Doc. 7
 4   (11/23/2016 Order) at 5] The Court’s order outlined the insufficiencies of Plaintiff’s
 5   Complaint in asserting a claim arising under the FDCPA. [Id. at 4-5] The Court found:
 6          to the extent Brosnahan’s complaint is based on actions taken by [Caliber]
            to facilitate the non-judicial foreclosure of the Property, these actions do
 7          not qualify as debt collection within the meaning of the FDCPA.
            Moreover, although the FDCPA provides for civil damages, Brosnahan
 8          cites no authority that alleged violations of the FDCPA give rise to a
            defense against non-judicial foreclosure. Id. at 5.
 9
            Plaintiff served the complaint and summons on Caliber. [Doc. 12] And the parties
10
     met and conferred to discuss the case. [Doc. 13 at 5] Plaintiff filed the FAC, which
11
     alleged three causes of action: (1) violation of the Real Estate Settlement Procedures Act
12
     (“RESPA”); (2) violation of the Truth in Lending Act (“TILA”); and (3) violation of the
13
     Fair Debt Collection Practices Act (“FDCPA”). [Doc. 13 at 22-25] The Court dismissed
14
     the FAC in September 2017 for failure to state a claim. [Doc. 23 (9/19/2017 Order)] The
15
     Court instructed Plaintiff that as a seasoned litigation, Plaintiff must familiarize himself
16
     with the Federal Rules, particularly Rules 8, 9, and 10. [Id. at 4] The Court also
17
     reminded Plaintiff to “carefully review Defendants’ motion to dismiss, as well as this
18
     Court’s prior order denying is TRO application, and ensure that his amended pleading
19
     does not contain claims that are unsupportable by fact or law.” [Id.]
20
            Plaintiff has now filed a SAC that alleges four purported causes of action:
21
     (1) failure to meet a condition precedent; (2) violation of the Real Estate Settlement
22
     Procedures Act (“RESPA”); (3) violation of the Truth in Lending Act (“TILA”); and (4)
23
     violation of the Fair Debt Collection Practices Act (“FDCPA”). [Doc. 24 (SAC)] Many
24
     of Plaintiff’s claims are unchanged from the FAC and even use the same language to
25
     describe his claims that have already failed before this Court.
26                                            Argument
27          To survive a motion to dismiss, a complaint must include “a short and plain
28   statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P.

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 1   8(a)(2). A complaint must also contain sufficient factual matter, accepted as true, to ‘state
 2   a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)
 3   (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). To survive dismissal for
 4   failure to state a claim pursuant to Rule 12(b)(6), a complaint must contain more than
 5   “labels and conclusions” or a formulaic recitation of the elements of a cause of action”; it
 6   must contain factual allegations sufficient to “raise a right to relief above the speculative
 7   level.” Twombly, 550 U.S. at 555. The Rules demand “more than an unadorned, the-
 8   defendant-unlawfully-harmed-me accusation.” Iqbal, 556 U.S. at 678.
 9            While a court must generally accept as true all allegations contained in a complaint,
10   that tenet does not apply to mere conclusory statements. Id. at 678-79. And even pro se
11   litigants like the Plaintiff “must comply with Federal Rules of Civil Procedure and meet
12   certain minimal standards of pleading.” See Ticktin v. C.I.A., No. CV-08-998-PHX-
13   MHM, 2009 WL 976517, at *4 (D. Ariz. Apr. 9, 2009) (quotation omitted).
14            Plaintiff offers no well-pleaded facts and no simple, direct, or concise allegations.
15   The SAC continues to fall far short of the Rules’ pleading requirements, and must be
16   dismissed.
17   I.       THE SAC VIOLATES FEDERAL RULES OF CIVIL PROCEDURE 8(A)
              AND 8(D), AS WELL AS THIS COURT’S DECEMBER 1, 2016 AND
18            SEPTEMBER 19, 2017 ORDERS.
19            Rule 8 requires “sufficient allegations to put defendants fairly on notice of the
20   claims against them.” Brabant v. JP Morgan Chase Bank, CV 11-00848-TUC-JGZ, 2012
21   WL 2572281, at *3 (D. Ariz. July 2, 2012) (quoting McKeever v. Block, 932 F.2d 795,
22   798 (9th Cir. 1991)). A complaint that consists of conclusory allegations against a group
23   of defendants without specific allegations of individual wrongdoing does not put
24   defendants fairly on notice of the claims against them. Id. (dismissing complaint where
25   claims against all defendants were devoid of any attempt to associate factual allegations
26   with specific defendants or claims.). In addition, “[e]ach allegation must be simple,
27   concise and direct.” Fed. R. Civ. P. 8(a).
28

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 1          While, in general, courts liberally construe the pleadings of a pro se litigant, “pro
 2   se litigants are [still] bound by the rules of procedure.” Ghazali v. Moran, 46 F.3d 52, 54
 3   (9th Cir. 1995); see also Sepehry-Fard v. Dept. Stores Nat’l Bank, 15 F. Supp. 3d 984,
 4   987 (N.D. Cal. 2014) (“pro se pleadings must still allege facts sufficient to allow a
 5   reviewing court to determine whether a claim has been stated.”).
 6          Here, the SAC as a whole fails to make “simple, concise and direct” allegations.
 7   Caliber should not have to wade through the SAC to try to glean what facts support
 8   Plaintiff’s various claims for relief he has attempted to allege. The fact that Plaintiff is
 9   pro se does not give him license to ignore the Rules of Civil Procedure or to pursue a
10   lawsuit without alleging facts to support his legal claims, relying instead on conclusory
11   assertions and a scattershot list of statutes. For this independent reason, the Court should
12   dismiss the SAC with prejudice.
13   II.    PLAINTIFF HAS FAILED TO STATE ANY CLAIMS FOR RELIEF.
14          The SAC should also be dismissed based on the substance of the claims asserted in
15   it. While Plaintiff now alleges four total claims against all Defendants, all of Plaintiff’s
16   claims are without any merit or supporting well-pleaded facts. Rule 8 requires “sufficient
17   allegations to put defendants fairly on notice of the claims against them.” When it
18   dismissed the FAC, this Court noted that “Plaintiff has submitted a rambling 27-page
19   narrative that fails to clearly and concisely state the factual and legal bases for his claims.”
20   [Doc. 23 (9/19/2017 Order), at 3] The only real difference with the SAC is that now
21   Plaintiff has submitted a rambling 30-page narrative that is just as defective in failing to
22   clearly and concisely state the factual and legal bases for his claims. The SAC fails to
23   inform Caliber of the claims against it any more than did the Complaint or the FAC.
24   Thus, Plaintiff fails to state any claim upon which relief can be granted, and the Court
25   should again dismiss all of Plaintiff’s claims with prejudice. See, e.g., Robinson v. BAC
26   Home Loans Servicing, LP, CV11-1920-PHX-JAT, 2012 WL 1520125, at *4 (D. Ariz.
27   May 1, 2012) (dismissing complaint with prejudice that contained “numerous mortgage
28

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 1   foreclosure arguments that have been rejected time and time again for failure to state a
 2   claim” because amendment would be futile and no additional facts could save the claims).
 3          In the SAC, Plaintiff relies predominately on the same legal conclusions and
 4   arguments outlined in the failed FAC. While the arguments are organized into numbered
 5   paragraphs this time around, Plaintiff continues to fail to provide facts supporting his legal
 6   conclusions and instead relies on various recitations of statutory language and irrelevant
 7   case law. The SAC adds very few (if any) additional facts to remedy the deficiencies of
 8   the FAC, as outlined in the Court’s September 19, 2017 Order. [Doc. 23] As the Court
 9   has already explained, “[l]egal conclusions couched as factual allegations are not entitled
10   to the assumption of truth, Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009), and therefore are
11   insufficient to defeat a motion to dismiss for failure to state a claim, In re Cutera Sec.
12   Litig., 610 F.3d 1103, 1108 (9th Cir. 2010).” [Id. at 2]
13          A.     Plaintiff Fails to State a Claim for Relief by Arguing that a Condition
                   Precedent has been Unmet (COUNT I).
14
            The SAC’s first claim, that Defendants failed to meet various conditions precedent
15
     contained in the loan documents, does not state a claim for which any relief should be
16
     granted. [Doc. 24 (SAC) at ¶¶ 108-122]
17
                   1.     Plaintiff’s claim that a condition precedent of acceleration fails to
18                        state a claim.
19          In Count I, Plaintiff first alleges the DOT contained a condition precedent requiring
20   notice of acceleration prior to initiation of a trustee’s sale. [See SAC, Doc. 24, at ¶¶ 110-
21   112] Plaintiff asserts that he did not received a notice of acceleration before the trustee’s
22   sale notice was recorded. [Id. at ¶ 113] Even if acceleration is required before a trustee’s
23   sale is held and Caliber has not yet accelerated the loan, this alleged failure does not state
24   a claim for relief because the trustee’s sale has not yet occurred and notice of acceleration
25   may still be issued.    In the SAC, Plaintiff, in fact, quotes language from the DOT
26   demonstrating that acceleration was not a prerequisite to initiating foreclosure. [See SAC,
27   Doc. 24, at ¶¶ 110-112] Indeed, the acceleration clause does not require acceleration
28   before sale, but requires thirty days’ notice of default and notice of intent to accelerate

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 1   before the acceleration is to occur. [See Doc. 14-2 (Request for Judicial Notice), at Ex. 1
 2   (DOT ¶ 22)]
 3           Moreover, a rider in the loan document unequivocally supports the reading that
 4   loan acceleration is not required before filing a notice of trustee’s sale. Specifically, in the
 5   1-4 family rider, signed by Plaintiff in 2006, states: “Borrower’s default or breach under
 6   any note or agreement in which Lender has an interest shall be a breach under the Security
 7   Instrument and Lender may invoke any of the remedies permitted by the Security
 8   Instrument.” [See id. (Request for Judicial Notice), at Ex. 2 (Loan Documents, 1-4
 9   Family Rider at ¶ I)] Finally, under the Note ¶ 10, Plaintiff explicitly waived any right of
10   Presentment, which waived any requirement that the Note Holder to demand payment of
11   amounts due. [See id. (Request for Judicial Notice), at Ex. 2 (Note ¶ 10)]
12                  2.     The historical “Substitutions of Trustees” not appointed by the
                           original lender fail to state a claim for relief.
13
             In this Count, Plaintiff also alleges that only the Lender may substitute the trustee
14
     and because Defendants entered a Substitution of Trustee, the loan documents were
15
     breached. [Doc. 24 (SAC) at ¶¶ 117-120]
16
             This assertion controverts the law and common sense. The DOT (at ¶ 24) states
17
     that “Lender may, for any reason or cause, from time to time remove Trustee and appoint
18
     a successor trustee to any Trustee appointed hereunder. Without conveyance of the
19
     Property, the successor trustee shall succeed to all the title, power and duties conferred
20
     upon Trustee herein and by Applicable Law.” [Doc. 14-2 (Request for Judicial Notice), at
21
     Ex. 1 (DOT ¶ 24)] The DOT (at ¶ 13) also states that “[t]he covenants and agreements of
22   this Security Instrument shall bind (except as provided in Section 20) and benefit the
23   successors and assigns of Lender.” [See Doc. 14-2 (Request for Judicial Notice), at Ex. 1
24   (DOT ¶ 13)] With each assignment of the DOT, the new Noteholder steps into the shoes
25   of the original lender. 4 When the Noteholder steps into the shoes of the original lender, it
26
     4
27      See, e.g., Doc. 14-2 (Request for Judicial Notice), at Exs. 3-7 (granting, assigning, and
     transferring all beneficial interests under the deed of trust dated 5/25/2006 and recorded as
28   instrument No. 3386186 on 5/31/2006).

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 1   has the rights and responsibilities of the original lender under the loan documents. Filing
 2   a substitution of trustee would thus, not constitute a filing of a “false document,” as the
 3   SAC suggests. [Doc. 24 (SAC) at ¶ 120] Further, nothing in the DOT states that only the

 4   original lender may substitute a trustee, and this assertion fails to state any claim for

 5   relief. 5
                        3.     The asserted violation of the “Time of the Essence” clause fails to
 6                             state a claim for relief.
 7               In this Count, Plaintiff finally alleges that Defendants violated Paragraph 25 of the
 8   DOT (Time of Essence). The SAC does not assert how this clause was violated, when, or
 9   what ramifications resulted from such alleged breach. [Doc. 24 (SAC) at ¶ 121] Indeed,
10   this allegation contains no well-pled facts to which Caliber can respond. Accordingly,
11   this allegation fails to state a claim for relief.
12               B.     Plaintiff Fails to State a Claim for Relief Under the Real Estate
                        Settlement Procedures Act (“RESPA”) (COUNT II).
13
                 Next, Plaintiff claims that Defendants are liable for violating the Real Estate
14
     Settlement Procedures Act (“RESPA”), pursuant to 12 U.S.C. § 2605. [Doc. 24 (SAC) at
15   ¶¶ 123-126] RESPA provides that “[i]f a servicer of a federally related mortgage loan
16   receives a qualified written request from the borrower (or an agent of the borrower) for
17   information relating to the servicing of such loan, the servicer shall provide a written
18   response” and “provide the borrower with a written explanation or clarification that
19   includes . . . information requested by the borrower [and] the name and telephone number
20   of an individual employed by, or the officer or department of, the servicer who can
21   provide assistance to the borrower.” 12 U.S.C. § 2605(e). A qualified written request
22   must include the borrower’s information and a statement of the reasons the account is

23   believed to be in error. Id. A qualified written request “is one that relates to the servicing

24   of the loan.” Brabant, 2012 WL 2572281, at *9 (citing Consumer Sols. REO v. Hillery,

25   685 F. Supp. 2d 1002, 1014 (N.D. Cal. 2009)).

26   5
       It is ironic Plaintiff is asserting that Caliber is liable as a successor noteholder for some
27   supposed (unidentified) TILA violations in the original lender’s 2006 loan documents, but
     that Caliber cannot be a successor noteholder for the administrative purpose of
28   substituting a trustee.

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 1          Plaintiff incomprehensibly asserts, again, that his “written requests for information
 2   about his account and correction of Defendants’ numerous errors ‘qualified written
 3   requests’ within the meaning of RESPA.” [Doc. 24 (SAC) at ¶ 125] Plaintiff continues to
 4   assert that Defendants: “failed to respond in a proper and timely way to Plaintiff’s
 5   ‘qualified written requests’ for information about, and corrections to, his mortgage
 6   account, in violation of 12 U.S.C. § 2605(e).” [Id. at ¶ 126] Plaintiff now attaches his
 7   June 27, 2016 written requests to the SAC, [Id. at Ex. 7], but continues to fail to attach
 8   the supposedly insufficient responses. Plaintiff seemingly quotes from communications
 9   from Caliber discussing the loan, but the quote included in the SAC is actually taken from
10   a letter sent from Plaintiff to Caliber. [Id. ¶ 84] Plaintiff concedes in the SAC that
11   Caliber responded to Plaintiff’s June 27, 2016 letter, but jumps to the conclusion that
12   Caliber’s response was “non-responsive” and insufficient. [Id.] Plaintiff fails to provide
13   any facts demonstrating the deficiencies of Caliber’s response and fails to include the
14   response as an exhibit to the SAC.       Importantly, Plaintiff’s communication is not a
15   qualified written request because it poses no questions about the servicing of the loan, but
16   rather challenges Caliber’s right to service the loan and the validity of the underlying
17   documents. This is not a basis for a claim under RESPA, and the SAC fails to allege facts
18   that support a claim for relief under RESPA. See Brabant, 2012 WL 2572281, at *9.
19          Additionally, to recover under RESPA, a plaintiff must allege facts demonstrating
20   that he suffered actual damages as a result of a defendant’s alleged failure to respond.
21   This is also grounds for dismissal of Plaintiff’s RESPA claim. See Amaral v. Wachovia
22   Mortgage Corp., 692 F. Supp. 2d 1226, 1232 (E.D. Cal. 2010) (“Absent factual
23   allegations suggesting that Plaintiffs suffered actual damages, Plaintiffs’ RESPA claim is
24   insufficiently pled and subject to dismissal.”). The SAC contains no factual allegations
25   relating to actual damages, and this insufficiently pled claim should be dismissed.
26

27

28

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 1          C.     Plaintiff Fails to State a Claim for Relief Under the Truth in Lending
                   Act (COUNT III).
 2

 3          Plaintiff claims that Defendants are liable for violating the Truth In Lending Act

 4   (“TILA”), pursuant to 15 U.S.C. § 1635. [Doc. 24 (SAC) at ¶¶ 127-139] There are no

 5   factual allegations in the SAC, which if proven true, could establish any Defendant’s

 6   liability under TILA. Plaintiff’s TILA claim provides a series of conclusory assertions

 7   that Caliber violated TILA without providing factual support—and citing a series of other

 8   statutes unrelated to TILA. [Id.] Plaintiff fails to state any facts in this count, let alone

 9   facts that would entitle him to any sort of relief.

10          TILA requires lenders to make certain specific disclosures of information in certain

11   approved formats before the loan is consummated. See U.S.C. § 1601, et seq. Caliber

12   was not involved in originating Plaintiff’s 2006 loan—it had no involvement until 2016.

13   Thus, to survive a motion to dismiss, Plaintiff would have to allege specific facts showing

14   how his original lender failed to make the adequate disclosures required by the statute

15   before the loan was made, and establishing some basis by which Caliber could be held

16   liable for such a failure. As for civil damages claims against a subsequent assignee of a

17   loan secured by real property, TILA expressly provides that such a claim “may be

18   maintained against any assignee of such [original] creditor only if—(A) the violation for

19   which such action or proceeding is brought is apparent on the face of the disclosure

20   statement provided in connection with such transaction pursuant to this subchapter . . . .”

21   15 U.S.C. § 1641(e)(1). Plaintiff has not pleaded any facts establishing that any alleged

22   TILA violation was “apparent on the face of the disclosure statement” that was provided

23   to Plaintiff when the loan was initially made in May 2006.

24          Further, even if Caliber had been involved in originating Plaintiffs’ loans, the time

25   in which to bring such an action has run. The statute of limitations for a civil damages

26   claim under TILA is only one year. Id. § 1640(e). Since the loan was made in 2006, this

27   limitations period has long since run. The right to rescind a transaction under TILA

28   expires three years after the date of consummation of the transaction. Id. § 1635(f). “This

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 1   three-year period is not a statute of limitations within which to file an action, but is rather
 2   the duration of the right to rescind.” McCann v. Quality Loan Serv. Corp., 729 F. Supp.
 3   2d 1238, 1242 (W.D. Wash. 2010). Although Plaintiff now provides a letter purportedly
 4   sent to his lender on or about May 15, 2009—ten days before the expiration of the statute
 5   of limitations based on the date included in the DOT—the TILA disclosures were signed
 6   by Plaintiff on May 2, 2006, which means that Plaintiff’s notice of rescission was not
 7   made within the three-year time frame. 6 Plaintiff does not challenge the validity or
 8   completeness of the disclosures he agreed to in 2006, rather his letter claims that he did
 9   not receive complete documents—without explaining what was incomplete about the
10   disclosures he signed. [Doc. 24 (SAC), at Ex. 7). The SAC also makes no attempt to
11   describe any insufficiency in the loan’s TILA disclosures. [Id. (SAC) at ¶¶ 127-139]
12           Plaintiff asserts that Defendants violated federal law by failing to recognize
13   Plaintiff’s letter of “rescission,” but the letter Plaintiff provided was not addressed to
14   Defendants and was purportedly sent years before Defendants attained responsibility for
15   the loan. Plaintiff’s ability to enforce his right to rescind, if he ever had a viable claim of
16   rescission, expired long before Defendants acquired the loan.
17           What is more, Plaintiff consummated the loan in May 2006. This suit was not filed
18   until November 2016—over a decade later. Plaintiff also still possesses the collateral that
19   is the Property at issue here. Any claim for rescission under TILA is time-barred, and any
20   claim for civil damages under TILA is baseless.
21

22

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24   6
        See Truth In Lending Disclosure statement, dated May 2, 2006, attached hereto as
25   Exhibit A. The contents of this document are sufficiently referenced in the SAC and
     Plaintiff’s arguments to warrant inclusion in this motion because Plaintiff failed to include
26   the document in the SAC. See, e.g., Tellabs, Inc. v. Makor Issues & Rights, Ltd., 551 U.S.
     308, 322-23 (2007) (“[C]ourts must consider the complaint in its entirety, as well as other
27   sources courts ordinarily examine when ruling on Rule 12(b)(6) motions to dismiss, in
     particular, documents incorporated into the complaint by reference, and matters of which
28   a court may take judicial notice.”).

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 1          D.     Plaintiff Fails to State a Claim for Relief Under the Fair Debt Collection
                   Practices Act (“FDCPA”) (COUNT IV).
 2
            For Plaintiff’s final formal claim for relief, Plaintiff asserts that Caliber violated the
 3
     Fair Debt Collections Practices Act (FDCPA), under 15 U.S.C. § 1672. [Doc. 24 (SAC)
 4
     at ¶¶ 140-161] But Plaintiff fails to state a claim under FDCPA because, as this Court has
 5   already held in this case, Caliber is not a “debt collector” as defined under the FDCPA.
 6   The purpose of the FDCPA is to regulate (and thus eliminate) abusive practices by debt
 7   collectors. 15 U.S.C. § 1692(e); Herrejon v. Ocwen Loan Servicing, LLC, 980 F. Supp.
 8   2d 1186, 1201-02 (E.D. Cal. 2013). As such, the FDCPA applies only to debt collectors
 9   and not to Caliber, a mortgage servicer. Plaintiff does not and cannot allege that Caliber’s
10   principal business is FDCPA debt collection. See id.
11          “Debt collectors” may face civil damages under the FDCPA for “engaging in
12   certain abusive practices while attempting to collect debts.” Ho v. ReconTrust Co., NA,
13   840 F.3d 618 (9th Cir. 2016) (citing 15 U.S.C. § 1692d-f, 1692k) (emphasis added).
14   Under this statue, a “debt collector” is defined as:
15          Any person who uses any instrumentality of interstate commerce or
            the mails in any business the principal purposes of which is the
16          collection of any debts, or who regularly collects or attempts to
            collect, directly or indirectly, debts owed or due or asserted to be
17          owed or due to another.

18   15 U.S.C. § 1692a(6). As the Court has previously explained, “mortgagees and their
19   beneficiaries, including mortgage servicing companies, are not debt collectors subject to
20   the FDCPA.” Mansour v. Cal-Western Reconveyance Corp., 618 F. Supp. 2d 1178, 1182
21   (D. Ariz. 2009) (citing Perry v. Stewart Title Co., 756 F.2d 1197, 1208 (5th Cir. 1985);
22   see also De Dios v. Int’l Realty & Inves., 641 F.3d 1071, 1075 n.3 (9th Cir. 22011) (“debt
23   collector does not include those ‘mortgage service companies and others who service
24   outstanding debts or others, so long as the debts were not in default when taken for
25   servicing.’” (quoting S. Rep. No. 95-382 (1977)). Further, “actions taken to facilitate a
26   non-judicial foreclosure, such as sending the notice of default and notice of sale, are not
27   attempts to collect ‘debt’ as the term is defined by the FDCPA.” Ho, 840 F.3d 618. Yet
28

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 1   again, Plaintiff simply ignores the Court’s prior ruling in this same case that “actions
 2   taken by Defendants to facilitate the non-judicial foreclosure of the Property . . . do not
 3   qualify as debt collection within the meaning of the FDCPA” and that the FDCPA does
 4   not provide any defenses against non-judicial foreclosure. [Doc. 7 (11/23/2016 Order) at
 5   5] For this reason alone, the SAC fails to state a claim arising under the FDCPA.
 6          In addition, Plaintiff makes a host of conclusory statements about Caliber’s
 7   communications regarding the loan. For example, Plaintiff commits sixteen paragraphs to
 8   statute sections that were purportedly “violated” but does not provide any well-pleaded
 9   facts describing the conduct by Caliber that supposedly violated each of these statutory
10   provisions, including statutory provisions unrelated to the FDCPA. [Doc. 24 (SAC) ¶¶
11   141-156] The remaining paragraphs in this section do not add facts to the section, but
12   rather reiterate Plaintiff’s position that the SAC includes allegations sufficient to support a
13   FDCPA claim. Even if the Court reversed its prior correct legal decision that the FDCPA
14   does not apply because Caliber is not acting as debt collector by foreclosing on Plaintiff’s
15   home loan, the SAC continues to be woefully deficient in substantively describing any
16   conduct of Caliber’s that would have violated the FDCPA.
17          Plaintiff’s allegations continue to be conclusory and do not state a plausible claim
18   to relief under the FDCPA.        Plaintiff still does not specify the nature of Caliber’s
19   supposedly abusive debt collection practices. Although Plaintiff claims that he received
20   “debt collector” communications from Caliber, the communications Plaintiff now attaches
21   to the SAC demonstrate Caliber’s intent to respect Plaintiff’s request to no longer receive
22   correspondence. For example, Exhibit 2 to the SAC (letter from Caliber dated December
23   15, 2016) advises Plaintiff “that you [Plaintiff] will no longer receive any correspondence,
24   except to the extent that such communications are permitted or required by applicable law.
25   Caliber may, however, continue to pursue any and all remedies afforded it under the terms
26   of your account.” [Doc. 24 (SAC), Ex. 2]
27          Plaintiff’s SAC also includes an implication that the Notices of Trustee’s Sale he
28   received from Caliber were objectionable communications under the FDCPA. Certainly,

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 1   Plaintiff would have objected (and challenged the potential sale) to the sale had he not
 2   received notice of Caliber’s actions taken to facilitate the non-judicial foreclosure of the
 3   Property, which, as the Court already held, do not fall into the FDCPA’s meaning of “debt
 4   collection.” [Doc. 7 (11/23/2016 Order) at 5] Further, although the FDCPA provides a
 5   possible basis for civil damages, the statute provides no defense against a non-judicial
 6   foreclosure.
 7          Numerous courts have concluded that “the activity of foreclosing on [a] property
 8   pursuant to a deed of trust is not collection of a debt within the meaning of the FDCPA.”
 9   Diesner v. Mortgage Electronic Registration Sys., 618 F. Supp. 2d 1184, 1188-89 (D.
10   Ariz. 2009) (citing Hulse v. Ocwen Fed. Bank, FSB, 195 F. Supp. 2d 1188, 1203-04 (D.
11   Or. 2002) (the activity of foreclosing on a property is not the collection of a debt within
12   the meaning of the FDCPA); Castro v. Exec. Trustee Servs., LLC, No. CV-08-2156-PHX-
13   LOA, 2009 WL 438683, at *6 (D. Ariz. Feb. 23, 2009) (same).
14          Plaintiff points to letters sent by Caliber that provide a notice that “This is an
15   attempt to collect a debt.” [Doc. 24 (SAC) at Exs. 2-3] This does not constitute an
16   admission to being a “debt collector” as contemplated by the FDCPA, and a label on a
17   letter does not change the substance of the underlying transaction or whether that
18   transaction falls within the scope of the statute. The FDCPA fails to provide grounds
19   upon which relief may be granted, and as a result this claim must also be dismissed.
20          E.      Amendment of the SAC would be futile.
21          Even liberally construing the SAC to find any way in which Plaintiff could
22   possibly state a claim for relief, Plaintiff has failed to state any claims upon which relief
23   may be granted. Nor could Plaintiff amend his claims to allege that Caliber caused him
24   any injury for which relief can be granted. A court may deny leave to amend when
25   dismissing a case for failure to state a claim if “the court determines that the pleading
26   could not possibly be cured by the allegations of other facts.” Lopez v. Smith, 203 F.3d
27   1122, 1127 (9th Cir. 2000). Plaintiff has already taken advantage of leave to amend
28   twice, with several of Court’s orders and Caliber’s earlier motion to dismiss that shed

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 1   light on some of the problems in Plaintiff’s pleadings. [E.g., Doc. 7 (11/23/2016 Order) at
 2   4-5 (“Brosnahan’s allegations are conclusory and do not state a plausible claim to relief
 3   under the FDCPA. He does not specify the nature of Defendants’ abusive debt collection
 4   practices. . . .”); Doc. 23 (9/19/2017 Order) at 3 (“Instead of providing a short and plain
 5   statement showing that he is entitled to relief, Plaintiff has submitted a rambling 27-page
 6   narrative that fails to clearly and concisely state the factual and legal bases for his claims.
 7   Plaintiff’s complaint which consists primarily of legal jargon rather than factual
 8   allegations, is far too verbose and convoluted to understand . . . .”)] Yet, Plaintiff ignored
 9   this advice and filed a SAC, which is substantially similar in nature to the Complaint and
10   the FAC, and makes several unsupported, conclusory allegations and a recitation of
11   statutes devoid of explanation of how the statutes apply or the factual allegations to
12   support any legal claims. Amendment at this point would be futile because Plaintiff has
13   failed to state any reasonable facts that could support any claim for relief.
14                                               Conclusion
15          For the foregoing reasons, Defendants respectfully request that the Court dismiss
16   with prejudice all of Plaintiff’s claims.
17

18   Dated: November 1, 2017                          PERKINS COIE LLP

19
                                                      By: /s/ Kendra L. Haar
20                                                        Brian C. Lake
                                                          Kendra L. Haar
21                                                        2901 North Central Avenue, Ste. 2000
                                                          Phoenix, Arizona 85012-2788
22
                                                      Attorneys for Defendants Caliber Home
23                                                    Loans, LSF9 Master Participation Trust,
                                                      and Summit Service and Realty LLC
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 1                    NOTICE OF CERTIFICATION OF CONFERRAL
 2         Pursuant to this Court’s order dated November 29, 2016, the parties have conferred
 3   to determine wither an amendment could cure a deficient pleading. In this conferral, the
 4   parties have been unable to agree that the pleading is curable by a permissible
 5   amendment. Accordingly, Defendants have moved forward with filing the above motion
 6   to dismiss pursuant to Federal Rule of Procedure 12(b).
 7
     Dated: November 1, 2017                      PERKINS COIE LLP
 8

 9                                                By: /s/ Kendra L. Haar
                                                      Brian C. Lake
10                                                    Kendra L. Haar
                                                      2901 North Central Avenue, Ste. 2000
11                                                    Phoenix, Arizona 85012-2788
12                                                Attorneys for Defendants Caliber Home
                                                  Loans, LSF9 Master Participation Trust,
13                                                and Summit Service and Realty LLC
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 1                                          VER]F'ICATION
2
              I, Nathaniel Mansi, am Default Service Officer at Caliber Home Loans, Inc. I am
 J
     authorized to rnake this verification on behalf         of Caliber in the matter Brosnqhan     v.

4
     Caliber Home Loans, Inc. et a/., No. 3:16-cv-08277-DLR. I have read the above Motion
 5
     to Dismiss Plaintiffls First Amended Complaint, dated November L, 2017. The facts
 6
     stated therein are not    all within my personal knowledge, but have been assembled by
 7
     authorized representatives and counsel, and I am informed and believe that the facts stated
 8
     therein are tnre based on my review of the business records,
 9
              I declare uporl penalty of perjury that the foregoing is true and correct.
t0
              Executed this lst day of Novetnber, 2017.
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12                                                      CALIBER HO               AN

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 1                                 CERTIFICATE OF SERVICE
 2            I hereby certify that on November 1, 2017, I electronically transmitted the attached
 3   documents to the Clerk’s Office using the CM/ECF System for filing.
 4            I also certify that on November 1, 2017, I served a copy of the attached documents
 5   via First Class mail on Plaintiff Pro Se Michael J. Brosnahan, 21 Hummingbird Circle,
 6   Sedona, AZ 86336-7012.
 7                                              s/ Susan Carnall
 8   137467296.1


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              Exhibit A
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